Case 5:04-cr-50170-SMH-MLH Document 265 Filed 01/11/21 Page 1 of 6 PageID #: 1360




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION


  UNITED STATES OF AMERICA                       CRIMINAL ACTION NO. 04-50170-04

  VERSUS                                         JUDGE S. MAURICE HICKS, JR.

  DANIEL WAYNE COLLINS                           MAGISTRATE JUDGE HORNSBY


                                 MEMORANDUM ORDER

        Before the Court is a Motion Re-Urging Compassionate Release Request filed pro

  se by Defendant Daniel Wayne Collins (“Collins”). See Record Document 256. Collins’

  first Motion for Compassionate Release was denied subject to re-urging if he exhausted

  his administrative remedies within the BOP. See Record Document 252. Collins now

  presents evidence of exhaustion and seeks compassionate release based on generalized

  health concerns arising from the COVID-19 pandemic. See Record Document 256. The

  Government has opposed Collins’ second Motion for Compassionate Release. See

  Record Document 260.

        Collins is serving consecutive terms of imprisonment of 168 months and 60 months

  for conspiracy to possess with the intent to distribute 50 grams or more of

  methamphetamine and possession of a firearm in furtherance of a drug trafficking crime,

  all in violation of 18 U.S.C. §§ 841(a)(1) and 846, 18 U.S.C. § 924(c). See Record

  Document 126. He is presently serving his sentence at Dallas RRM. His projected

  release date is March 28, 2021.

        A judgment of conviction, including a sentence of imprisonment, “constitutes a final

  judgment and may not be modified by a district court except in limited circumstances.”
Case 5:04-cr-50170-SMH-MLH Document 265 Filed 01/11/21 Page 2 of 6 PageID #: 1361




  Dillon v. United States, 560 U.S. 817, 824, 130 S.Ct. 2683, 2690 (2010). Title 18, United

  States Code, Section 3582(c) provides that the court “may not modify a term of

  imprisonment once it has been imposed,” except in three circumstances:

        (1)    upon a motion by the Bureau of Prisons or the defendant for
               reduction of sentence under 18 U.S.C. § 3582(c)(1)(A);

        (2)    “to the extent otherwise expressly permitted by statute or by Rule 35
               of the Federal Rules of Criminal Procedure,” 18 U.S.C. §
               3582(c)(1)(B); or

        (3)    where the defendant was sentenced based on a retroactively
               lowered sentencing range, 18 U.S.C. § 3582(c)(2).

  In this case, Collins moves to modify his sentence under 18 U.S.C. §§ 3582(c)(1)(A).

  Under this section, the court may reduce a sentence “if it finds that extraordinary and

  compelling reasons warrant such a reduction” and “that such a reduction is consistent

  with applicable policy statements issued by the Sentencing Commission.” 18 U.S.C. §

  3582(c)(1)(A).

        Prior to 2018 only the Director of the BOP could file Section 3582(c)(1)(A) motions,

  also known as compassionate release motions. In 2018, Congress passed and President

  Trump signed the First Step Act, which among other actions, amended the

  compassionate release process. Under the First Step Act, Section 3852(c)(1)(A) now

  allows prisoners to directly petition courts for compassionate release. However, before

  filing compassionate release motions, prisoners must exhaust their administrative

  remedies in one of two ways:

        (1)    prisoners may file a motion with the court after fully exhausting all
               administrative rights to appeal the BOP's decision not to file a motion
               for compassionate release, or

        (2)    prisoners may file a motion with the court after requesting release
               and there has been “the lapse of 30 days from the receipt of such

                                        Page 2 of 6
Case 5:04-cr-50170-SMH-MLH Document 265 Filed 01/11/21 Page 3 of 6 PageID #: 1362




                request by the warden of the defendant’s facility, whichever is
                earlier.”

  18 U.S.C. § 3852(c)(1)(A). The administrative exhaustion provision of the First Step Act

  is set out in mandatory terms and has been characterized by the Fifth Circuit as a

  mandatory claim-processing rule. See U.S. v. Franco, No. 20-60473, 2020 WL 5249369

  at *2 (5th Cir. Sept. 3, 2020) (“The statute’s language is mandatory.”). Here, there is no

  dispute that Collins has now exhausted his administrative remedies within the BOP and

  the instant motion is properly before this Court. See Record Document 260 at 4.

         Subject to exhaustion and the considerations of 18 U.S.C. § 3553(a), Section

  3582(c)(1)(A) would permit a reduction in Collins’ term of imprisonment if the Court

  determines that extraordinary and compelling reasons warrant a reduction. The reduction

  must be “consistent with applicable policy statements issued by the Sentencing

  Commission.” 18 U.S.C. § 3582(c)(1)(A). Turning to the Guidelines, U.S.S.G. § 1B1.13

  explains that a reduction is authorized when the court, after consideration of the factors

  set forth in 18 U.S.C. § 3553(a), determines that extraordinary and compelling reasons

  exist and the defendant is not a danger to the safety of any other person or the community,

  as provided in 18 U.S.C. § 3142(g). The reduction must also be consistent with the policy

  statements set forth in U.S.S.G. § 1B1.13. Application Note 1 of the U.S.S.G. § 1B1.13

  sets forth what may constitute “extraordinary and compelling” circumstances that would

  permit a court to grant relief under Section 3582(c)(1)(A):

         (A)    Medical Condition of the Defendant. –

                (i)    The defendant is suffering from a terminal illness (i.e. a
                serious and advanced illness with an end of lift trajectory). A
                specific prognosis of life expectancy (i.e. a probability of death
                within a specific time period) is not required. Examples include



                                         Page 3 of 6
Case 5:04-cr-50170-SMH-MLH Document 265 Filed 01/11/21 Page 4 of 6 PageID #: 1363




                    metastatic solid-tumor cancer, amyotrophic lateral sclerosis (ALS),
                    end-stage organ disease, and advanced dementia.

                    (ii)    The defendant is –

                            (I)     suffering from a serious physical or mental condition,

                            (II)  suffering from a serious functional or cognitive
                            impairment, or

                            (III) experiencing deteriorating physical or mental health
                            because of the aging process,

                    that substantially diminishes the ability of the defendant to provide
                    self-care within the environment of a correctional facility and from
                    which he or she is not expected to recover.

            (B)    Age of the Defendant. – The defendant (i) is at least 65 years old; (ii)
            is experiencing a serious deterioration in physical or mental health because
            of the aging process; and (iii) has served at least 10 years or 75 percent of
            his or her term of imprisonment, whichever is less.

            (C)     Family Circumstances. –

                    (i)   The death or incapacitation of the caregiver of the defendant's
                    minor child or children.

                    (ii)  The incapacitation of the defendant's spouse or registered
                    partner when the defendant would be the only caregiver for the
                    spouse of registered partner.

            (D)    Other Reasons. – As determined by the Director of the Bureau of
            Prisons, there exists in the defendant's case an extraordinary and
            compelling reason other than, or in combination with the reasons described
            in subdivision (A) through (C).

  Under the authority granted to the BOP in U.S.S.G. § 1B1.13 to further specify what it

  considers “extraordinary and compelling,” BOP Program Statement 5050.50 1 lists similar

  conditions such as terminal illness, advanced age and the death of a spouse or registered

  partner.        BOP’s program statement does not depart from the manner in which



  1   Available at https://www.bop.gov/policy/progstat/5050_050_EN.pdf.

                                                Page 4 of 6
Case 5:04-cr-50170-SMH-MLH Document 265 Filed 01/11/21 Page 5 of 6 PageID #: 1364




  “extraordinary and compelling” is otherwise defined. U.S. v. Hudec, No. 4:91-1-1, 2020

  WL 4925675 (S.D.Tex. 8/19/2020) (noting that Program Statement 5050.50 provides the

  same bases as U.S.S.G. for a finding of “extraordinary and compelling” reasons for

  compassionate release).

         “In general, the defendant has the burden to show circumstances meeting the test

  for compassionate release.” U.S. v. Stowe, No. H-11-803(1), 2019 WL 4673725 at *2

  (S.D. Tex. Sept. 25, 2019); see also U.S. v. Ennis, No. EP-02-CR-1430-PRM-1, 2020 WL

  2513109, at *4 (W.D. Tex. May 14, 2020) (“[T]he defendant has the burden to show

  circumstances meeting the test for compassionate release.”); U.S. v. Wright, No. 16-214-

  04, 2020 WL 1976828, at *6 (W.D. La. Apr. 24, 2020) (Petitioner has the “burden of

  showing the necessary circumstances, or a combination of circumstances, that would

  warrant relief under the compassionate release statute.”). Here, Collins cites no specific

  medical condition and simply points to generalized COVID-19 fears as a basis for

  compassionate release. Neither the policy statements nor the applicable BOP regulations

  provide any basis for compassionate release based on generalized health concerns

  relating to COVID-19. See U.S. v. Koons, No. 16-214-05, 2020 WL 1940570, *5; see

  also U.S. v. Thompson, No. 20-40381 (5th Cir. Jan. 5, 2021) (“Fear of COVID doesn’t

  automatically entitle a prisoner to release.”). Additionally, Collins states that “[his] health,

  thank the Lord, is pretty sound at the present time.” Record Document 256 at 2. Collins

  simply has not met his burden of establishing extraordinary and compelling reasons

  necessitating compassionate release.




                                           Page 5 of 6
Case 5:04-cr-50170-SMH-MLH Document 265 Filed 01/11/21 Page 6 of 6 PageID #: 1365




          Accordingly,

          IT IS ORDERED that Collins’ pro se Motion Re-Urging Compassionate Release

  Request (Record Document 256) be and is hereby DENIED.

          THUS DONE AND SIGNED, in Shreveport, Louisiana, this 11th day of January,

  2021.




                                      Page 6 of 6
